Case: 1:19-cv-03077 Document #: 72 Filed: 07/23/19 Page 1 of 3 PagelD #:6021

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

CREATIVE IMPACT INC, ;

CREATIVE IMPACT (HONG KONG) LIMITED;

ZURU LLC; and

ZURU INC.,

Plaintiffs,

Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON

SCHEDULE A HERETO,

Defendants.

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EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

264
279
286
296
308
318
341
354
358
395

Defendant

fornewcustomer
Getme
Globalbuying
Greatmiomhan
Happy pen
Hello-heart
Huanghaidi5376
idealhereoo
Industry 1688
kaichenganfang
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The respective Defendants have not filed an answer to the complaint or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.

Respectfully submitted,

Dated: July 23, 2019 By:

s/Michael A. Hierl

Michael A. Hierl (Bar No. 3128021)
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Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 23, 2019.

s/Michael A. Hierl

 
